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rN THE UNITED sTATEs DISTRICT coURT Fl¢-t`fii"‘ F‘Q' o.c.
FoR THE WESTERN DISTchT oF TENNESSEE
WESTERN DIVISION 95 JUL 27 PH I= 13
UNITEI) sTATEs oF AMERICA CLE§§?;., -r`.'j. 77 ` d l;&(S)UHT
as se n ig l
v. 05-20255-M1
DAVID PARISH
oRDER oN ARRAIGNMENT

 

/'
This cause came to be heard on Q'bl/Z*) g 7, cg 000 , the United States Attorney

for this district appeared on behalf of the Yverméént, and the defendant appeared in person and with
counsel:

NAME a£(?§/ )QQMD who is Retainedeppointed.

___-__-

 

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
show to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

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UNITED STATES MAGISTRATE JUDGE

 

 

CHARGES: 18:1709;

U. S. Attorney assigned to Case: S. Parker

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Tnis document entered on the docket sheet fn compliance
with ante 55 and!or 32(b) Fnch on ’7' ’

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CR-20255 Was distributed by faX, mail, or direct printing on
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T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

